Case 2:21-cv-07195-FLA-MAR Document 8 Filed 11/16/21 Page 1 of 2 Page ID #:50
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No. 2:21-cv-7195-FLA (MAR)                                               Date: November 16, 2021
Title:      Owen Garth Hinkson v. Warden of FCI Lompoc

Present: The Honorable: MARGO A. ROCCONI, UNITED STATES MAGISTRATE JUDGE
                   James Munoz                                                N/A
                   Deputy Clerk                                     Court Reporter / Recorder

       Attorneys Present for Petitioner:  Attorneys Present for Defendants:
                    N/A                                 N/A
Proceedings: (In Chambers) SECOND ORDER TO SHOW CAUSE RE: WHY THIS
             ACTION SHOULD NOT BE DISMISSED FOR LACK OF
             JURISDICTION

        On October 6, 2021, this Court issued an Order to Show Cause (“OSC”) instructing
Petitioner to address why this action should not be dismissed for lack of jurisdiction. ECF Docket
No. (“Dkt.”) 7. The OSC ordered Petitioner to respond according to one (1) of the following three
(3) options:

    (1) If Petitioner contends his action is not a challenge to the legality of detention that
        should be heard in the sentencing court, but is instead challenging the manner,
        location, or conditions of a sentence’s execution, he should clearly explain this in a
        filing with this Court. Petitioner should attach copies of any documents that support
        his position.

    (2) If Petitioner contends his action challenges the legality of detention and is properly
        before this Court as the custodial court under the section 2255 escape hatch, he should
        clearly explain this in a filing with this Court. Petitioner should attach copies of any
        documents that support his position.

    (3) If Petitioner wishes to withdraw his Petition, he may request a voluntary dismissal of
        this action without prejudice pursuant to Federal Rule of Civil Procedure 41(a), which
        must be served and filed no later than twenty-one (21) days after the date of this
        Order. The Clerk of Court is instructed to attach a Notice of Dismissal form
        for Petitioner’s convenience. The Court advises Petitioner, however, that if he
        should later attempt to raise his dismissed claims in a subsequent habeas petition or
        section 2255 motion, those claims may be time-barred, and may be barred as
        successive.

Dkt. 7 at 3–4.

         To date, Petitioner has failed to respond.




CV-90 (03/15)                             Civil Minutes – General                               Page 1 of 2
Case 2:21-cv-07195-FLA-MAR Document 8 Filed 11/16/21 Page 2 of 2 Page ID #:51
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-7195-FLA (MAR)                                          Date: November 16, 2021
Title:      Owen Garth Hinkson v. Warden of FCI Lompoc

        In the OSC, the Court warned Petitioner that failure to respond may result in dismissal of
the action. Id. However, before dismissing the Petition, the Court will give Petitioner another
opportunity to respond. Accordingly, Petitioner is ORDERED to respond according to one (1) of
the three (3) options above no later than twenty-one (21) days after the date of this Order, by
December 7, 2021.

      The Clerk of Court is instructed to include a copy of the Court’s October 6, 2021
Order. Dkt. 7.

        The Court warns Petitioner that failure to timely respond will result in dismissal of
this action without prejudice for lack of jurisdiction, and failure to prosecute and obey Court
orders.

         IT IS SO ORDERED.
                                                                                        :
                                                                 Initials of Preparer         jm




CV-90 (03/15)                          Civil Minutes – General                              Page 2 of 2
